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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


THE UNITED STATES OF AMERICA,

              Plaintiff,
                                                  Case No. 11-20188
vs.
                                                  HON. GEORGE CARAM STEEH
D-2 PHILLIP HARPER,
D-4 FRANK HARPER,
D-5 BERNARD THOMAS EDMOND

           Defendants.
________________________________/


     ORDER REGARDING MOTION FOR BILL OF PARTICULARS [DOC. 89],
 MOTION IN LIMINE TO SUPPRESS PHOTOGRAPHIC IDENTIFICATION [DOC. 90],
 MOTION FOR BILL OF PARTICULARS, [DOC. 115], MOTION TO EXCLUDE PRIOR
  BAD ACTS [DOCS. 96 AND 116], AND MOTION FOR SEVERANCE [DOC. 117]

       The above-captioned motions were before the Court on August 20, 2013.

Counsel for defendant Phillip Harper joined in defendant Frank Harper’s motion to

exclude prior bad acts [Doc. 116] and motion for severance [Doc. 117].

       As stated on the record and for the reasons given, defendant Edmond’s motion

for bill of particulars [Doc. 89] and motion in limine to suppress photographic

identification [Doc. 90] are WITHDRAWN.

       Defendant Harper’s motion for bill of particulars [Doc. 115] is WITHDRAWN.

Defendants Harpers’ motion to exclude prior bad acts [Doc. 116] is GRANTED in part

and DENIED in part. Defendant Frank Harper’s previously filed motion to exclude prior

bad acts [Doc. 96] is DENIED as MOOT due to the filing of the Third Superseding



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Indictment [Doc. 109]. Defendants Harpers’ motion for severance [Doc. 117] is

DENIED.

      IT IS SO ORDERED.

Dated: August 21, 2013
                                           s/George Caram Steeh
                                           GEORGE CARAM STEEH
                                           UNITED STATES DISTRICT JUDGE

                                 CERTIFICATE OF SERVICE

                  Copies of this Order were served upon attorneys of record on
                      August 21, 2013, by electronic and/or ordinary mail.

                                     s/Marcia Beauchemin
                                         Deputy Clerk




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